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  Name and address:
Salil Bali, SBN 263001
STRADLING YOCCA CARLSON & RAUTH, PC
660 Newport Center Dr., Suite 1600
Newport Beach, CA 92660
Ph. 949-725-4000
Email: sbali@sycr.com
                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA

                                                                              CASE NUMBER 8:18-cv-01519-JAK-PLA
KAJEET, INC.,
                                                            Plaintiff(s),
                  v.
                                                                                APPLICATION OF NON-RESIDENT ATTORNEY
QUSTODIO, LLC,                                                                        TO APPEAR IN A SPECIFIC CASE
                                                         Defendant(s),                       PRO HAC VICE
 INSTRUCTIONS FOR APPLICANTS
 (1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
     Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
     supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
     days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
     completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
 (2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
     => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order (using
     Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing (using a credit card).
     The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be grounds for
     denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
     United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
     Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
 Mehta, Manish K.                                                                    IL Bar No. 6290204
 Applicant's Name (Last Name, First Name & Middle Initial)                                         check here if federal government attorney
 Benesch, Friedlander, Coplan & Aronoff LLP
 Firm/Agency Name
 333 W. Wacker Drive, Suite 1900                                            312-212-4953                           312-767-9192
                                                                            Telephone Number                       Fax Number

 Street Address
 Chicago, IL 60606                                                          mmehta@beneschlaw.com
 City, State, Zip Code                                                                                  E-mail Address

 I have been retained to represent the following parties:

 QUSTODIO, LLC                                                                Plaintiff(s)    Defendant(s)        Other:
                                                                              Plaintiff(s)    Defendant(s)        Other:
 Name(s) of Party(ies) Represented
List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.
                   Name of Court                           Date of Admission           Active Member in Good Standing? (if not, please explain)
 State Bar of Illinois                                   12/19/2006                   Yes
 Illinois Supreme Court                                  12/19/2006                   Yes
 USDC Northern District of Illinois                      01/11/2007                   Yes
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